                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           NO. 3:13-00097
                                                 )           JUDGE SHARP
CAITLIN MICHELLE GIBSON [18]                     )


                                           ORDER

       A hearing on a plea of guilty in this matter is hereby scheduled for Thursday, June 26, 2014,

at 2:30 p.m.

       It is so ORDERED.




                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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